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Form 253

                                     UNITED STATES BANKRUPTCY COURT
                                            Middle District of North Carolina
                                               101 S. Edgeworth Street
                                                Greensboro, NC 27401
 Information to identify the case:
                Mya Deionshai Corbett                              Social Security number or ITIN:   xxx−xx−3117
 Debtor 1:
                                                                   EIN: _ _−_ _ _ _ _ _ _


                                                                    Date case filed for chapter:      13     6/8/22
                1183 University Dr
                #105227
                Burlington, NC 27215

 Case number:    22−10293

      DISMISSAL ORDER CHAPTER 13



       After notice and hearing in open Court, upon Motion to Dismiss by the Standing Trustee, and for sufficient
      reasons appearing, the presiding Judge in open Court granted the Motion to Dismiss; therefore, it is

      ORDERED that the case is dismissed prior to confirmation; and it is further

      ORDERED that the Standing Trustee is authorized to retain from any funds on hand in the case noticing
      costs in the amount of $1.00 per notice plus $125.00 to credit toward expenses.




      Dated: 7/27/22
